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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 10-60786-Civ-Cooke/Bandstra

   COQUINA INVESTMENTS,

                     Plaintiff,

   v.

   SCOTT W. ROTHSTEIN and
   TD BANK, N.A.

               Defendants.
   ____________________________________/

                     COQUINA INVESTMENT’S TRIAL WITNESS LIST WITH
                        IDENTIFYING INFORMATION FOR THE JURY

            Pursuant to this Court’s Scheduling Order [D.E. 42], Plaintiff Coquina Investments, by and

   through undersigned counsel, hereby files its Trial Witness List With Identifying Information for the

   Jury:

    1                         Vincent Auletta
                              TD Bank Employee
    2                         Roseanne Caretsky
                              TD Bank Employee
    3                         Paolo Casabone
                              TD Bank Employee
    4                         Carlo DiToro
                              TD Bank Employee
    5                         Kevin Gillen
                              TD Bank Employee
    6                         Catherine Ghiglieri
                              Ghiglieri and Company
                              2300 Cypress Point West
                              Austin, Texas 78746
    7                         George Hawn
                              Corpus Christi, Texas


                                                 Mandel & Mandel LLP
        1200 Alfred I. duPont Building   " 169 East Flagler Street " Miami, Florida   " Telephone 305.374.7771
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   8                          Jennifer Kerstetter
                              TD Bank Employee
   9                          Melvyn Klein
                              Corpus Christi, Texas
   10                         Frank Spinosa
                              Formerly employed by TD Bank
   11                         Thomas te Riele
                              TD Bank Employee
   12                         John Tolomer
                              The Westchester Bank
                              2001 Central Park Avenue
                              Yonkers, NY 10710
   13                         Kathleen White
                              Corpus Christi, Texas
   14                         J. Michael Woody
                              TD Bank Employee
   15                         Maria Yip, CPA
                              Yip & Levi LLC
                              201 Alhambra Circle #501
                              Coral Gables, FL 33134
   16                         David Boden
                              Formerly employed by Rothstein Rosenfeldt & Adler, P.A.
   17                         Matthew Brennan
                              TD Bank Employee
   18                         Kim Cermignano
                              TD Bank Employee
   19                         Paul Ciccotto
                              TD Bank Employee
   20                         Barrie Damson
                              Fairfield, Connecticut
   21                         George Levin
                              Miami, Florida
   22                         Wende Litterio
                              BankUnited Employee
   23                         Mark Maroppa
                              TD Bank Employee


                                                 Mandel & Mandel LLP
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   24                         Robert McCullough
                              TD Bank Employee
   25                         Ricardo Mejia
                              TD Bank Employee
   26                         Richard Pearson
                              Ft. Lauderdale, Florida
   27                         Jesus Pena
                              Andrews International
                              Miami, Florida 33155
   28                         Hon. Herbert Stettin
                              2 South Biscayne Boulevard
                              Miami, FL 33131
   29                         Ana Tarazona
                              TD Bank Employee
   30                         Jessica Truska
                              TD Bank Employee
   31                         TD Bank Records Custodian
                              TD Bank Employee




                                                                 Respectfully submitted,

                                                                 MANDEL & MANDEL LLP
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                                                                 dmandel@mandel-law.com


                                                        By:      /s/ David S. Mandel
                                                                 DAVID S. MANDEL
                                                                    Florida Bar No. 38040

                                                                 Attorneys for Coquina Investments




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                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 18, 2011, a true and correct copy of the foregoing

   was electronically filed with the Clerk of the Court using CM/ECF.



                                                               /s/ David S. Mandel




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